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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 FOXMOOR TOWNHOME OWNERS
 ASSOC.,

                Plaintiff,                          Case No.: 1:23-cv-16485

        vs.
                                                    JURY DEMANDED
 GREATER NEW YORK MUTUAL
 INSURANCE COMPANY,

                Defendant.


                                         COMPLAINT

       Plaintiff, Foxmoor Townhome Owners Assoc., by its attorney, Scott Green of The Law

Offices of Scott Green, LLC, for its Complaint against Defendant, Greater New York Mutual

Insurance Company, states:

                                           PARTIES

       1.      At all times relevant, Plaintiff, Foxmoor Townhome Owners Assoc. (“Plaintiff” or

“Foxmoor”), was the owner of the property commonly known as 1800-1996 Waverly Way,

Montgomery, IL 60538 (“the insured property”).

       2.      At all times relevant, Defendant, Greater New York Mutual Insurance Company

(“Defendant” or “GNY”), was and is a New York citizen, being a New York corporation with its

principal place of business in New York, New York, and was and is authorized to do business in

the State of Illinois, and was and is engaged in the business of underwriting and issuing property

and casualty insurance policies.

                                   JURISDICTION AND VENUE




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       3.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332. The

matter is one between citizens of different states and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because the

Plaintiff resides in this judicial district and the events giving rise to its claims occurred in this

judicial district. Additionally, GNY does business and/or transacts business in this judicial district

and, therefore, it is subject to personal jurisdiction in this district and resides here for venue

purposes.

                                            COUNT I
                                       (Breach of Contract)

       5.      GNY issued to Foxmoor a Commercial Property insurance policy effective

Septermber 26, 2022 to September 26, 2023, policy number 1112M45734 (“the insurance policy”).

A true and correct copy of the Policy is attached hereto as Exhibit “1”.

       6.      Under the insurance policy, GNY insured against risks of direct physical loss or

damage to the insured property unless the loss is limited or excluded.

       7.      Loss caused by hail is not excluded or limited under the terms and conditions of the

insurance policy and, as such, hail are covered risks under the insurance policy.

       8.      On or about April 4, 2023, while the insurance policy was in full force and effect,

the insured property sustained hail damage.

       9.      Foxmoor submitted a claim, claim number F0695660-01 to GNY under the

insurance policy for its losses and damages from this hail occurrence.

       10.     Foxmoor has substantially performed all conditions required by the insurance

policy to be performed by it, including, but not limited to, giving prompt notice of the loss to GNY

and otherwise cooperating with GNY’s investigation of the claim.



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       11.     As a result, it is GNY’s duty to pay Foxmoor for the entire amount due under the

insurance policy for the losses and damages it sustained as a result of the April 4, 2023 hail

occurrence.

       12.     Although requested to do so, GNY has failed, refused and continues to fail and

refuse to pay Foxmoor the entire amount due and owing under the insurance policy for all of its

losses and damages.

       13.     This breach of the insurance contract was and is the direct and proximate cause of

damages to Foxmoor in an amount in excess of $75,000.

       14.     This is an action based on a “written instrument” within the meaning of the Illinois

Interest Act and, therefore Foxmoor is entitled to prejudgment interest.

       WHEREFORE, Plaintiff, Foxmoor Townhome Owners Assoc., prays for judgment in its

favor and against Defendant, GNY, in an amount in excess of $75,000, plus prejudgment interest

and costs.

PLAINTIFF DEMANDS A TRIAL BY JURY

Dated: December 5, 2023

                                             Respectfully Submitted,

                                             THE LAW OFFICES OF SCOTT GREEN, LLC



                                         By: _______________________________________
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